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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                MEMORANDUM


Honorable Morrison C. England, Jr.
United States District Judge
Sacramento, California

                                        RE:   N. Allen SAWYER
                                              Docket Number: 2:02CR00468-04
                                              PERMISSION TO TRAVEL
                                              OUTSIDE THE COUNTRY

Your Honor:


The releasee is requesting permission to travel to the Hong Kong, China. He is current
with all supervision obligations, and he completed his term of home detention on August
24, 2006. The probation officer recommends approval be granted.


Conviction and Sentencing Date: On June 7, 2005, the releasee was sentenced for the
offense of 18 USC 1341 and 1346 - Honest Services Mail Fraud.


Sentence Imposed: 6 months custody of the Bureau of Prisons; 36 months Supervised
Release; $100 Special Assessment; $20,000 Fine. Special Conditions: Warrantless
search; Financial access; No new debt/credit; Home confinement with electronic
monitoring; Not to dispose of assets without approval from probation officer.


Dates and Mode of Travel: August 5, 2007 through August 22, 2007, via Cathy Pacific
Airline in San Francisco, California.


Purpose: Releasee is traveling to attend a development business meeting, and to inspect
the development project site.




                                                                                                       R ev. 05/2006
                                          1           T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
      Case 2:02-cr-00468-MCE-CMK Document 625 Filed 06/15/07 Page 2 of 2


RE:    N. Allen SAWYER
       Docket Number: 2:02CR00468-04
       PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                               Respectfully Submitted,


                                /s/ George A. Vidales
                               GEORGE A. VIDALES
                           United States Probation Officer

DATED:       June 11, 2007
             Elk Grove, California
             GAV/cj


REVIEWED BY:         /s/ Deborah A. Spencer
                   DEBORAH A. SPENCER
                   Supervising United States Probation Officer



ORDER OF THE COURT:

Approved XXX                                 Disapproved


Dated: June 14, 2007


                                       ______________________________
                                       MORRISON C. ENGLAND, JR.
                                       UNITED STATES DISTRICT JUDGE




                                                                                                      R ev. 05/2006
                                         2           T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
